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Wisconsin Voter Alliance, et al. v. Vice President Michael Richard Pence, et al.
USDC-DC Court file No. 20-CV-03791

 

AFFIDAVIT OF SERVICE
VIA U.S. PRIORITY MAIL

Johanna Juris, being duly sworn on oath, states that on January 7, 2021, served the
following document(s):

Notice of Voluntary Dismissal of Complaint
Pursuant to Rule 41 (a)(1)(A)()

by United States Postal Service Priority Mail upon all individuals listed on the attached Service
List.

i
Vcc
Dated: January 7, 2021 : \Midgu & Mt

Joh nna Juris -

Subscribed and sworn to before me
this 7th, day of mae = cy

  

 

Notary Public 7

NOTARY SEAL

22> VINCENT J. FAHNLANDER
3 Notary Public-Minnesota
: J My Commission Expires Jan 34, 2025

 
      
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